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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                        Criminal No. 15-CR235(7)) (JNE/TNL)

________________________________

United States of America,

                              Plaintiff,              DEFENDANT’S POSITION
                                                      PAPER AND MEMORANDUM
v.

Albert Donell Payne

                        Defendant.
________________________________

                                    Procedural History

                                           Argument

              A. Continued Objections to Pre-sentence investigation report

1.     Page F.2 – SSN#:

       Mr. Payne continues to object to the social security number listed in the PSR. His

correct social security number is XXX-XX-XXXX.

2.     Page F.2. – Education:

       Mr. Payne objects to the statement that he does not have a High School Diploma,

or GED. Mr. Payne obtained his GED while he was incarcerated at the Jacksonville

Correctional Facility in Illinois. Mr. Payne was released early from prison, on July 28,

1997, on a program that allowed for early release for “school good time” after he

completed his GED. Mr. Payne maintains that the Correctional Facility should have

these documents. Counsel attempted to obtain these records by writing to both the

Jacksonville Correctional Center and the Regional Office of Education. The Regional

Office of Education houses all GED records for the Jacksonville Correctional Center.
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Counsel received a letter dated March 1, 2016 stating that Mr. Payne may have been in an

early release contract, however no GED records were located for Mr. Payne.

3.     Paragraph 53:

       Mr. Payne objects to the language in this paragraph beyond the first sentence.

The language is not relevant and appears to be included only for inflammatory purposes.

As the paragraph notes, “the investigation into these deaths could not be attributed to the

DTO. As such, this base offense level is not applicable.” This language is not relevant

and is inappropriate for the PSR. The PSR not only has en effect upon sentencing, but

also has implications at the Bureau of Prisons. A PSR is a non-binding document that is

prepared to assist the Court in sentencing. The preponderance of the evidence standard is

the appropriate standard for proving all sentencing facts. United States v. Villareal-

Amarillas, 562 F.3d 892, 897-98 (8th Cir. 2009). “The burden of proof [at sentencing] is

on the government with respect to the base offense level and any enhancing factors.”

United States v. Hammer, 3 F.3d 266, 272 (8th Cir. 1993); See also, United States v.

Howard, 894 F.2d 1085, 1090 (9th Cir. 1990). “In determining what weight to give the

advisory guidelines, it may be helpful for the court to consider whether any guideline

enhancements are supported by evidence beyond a reasonable doubt. This is not a back-

door means of adopting the position of the remedial dissenters in Booker. Rather, it

allows the court to give effect to both the merits and remedial majority opinions: federal

sentencing is still judge-based, but courts should not impose sentences based on the sort

of flimsy evidence that often passed under the old regime.” U.S. v. Gray, 362 F. Supp.

2d 714, 723 (S.D. W. Va. 2005).

       Mr. Payne objects to this language and requests that it be removed from his PSR.
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4.     Paragraph 54.

       Mr. Payne objects to the assertion that on February 14, 2013, cocaine was found

at a place where he was present is relevant conduct and related to the same course of

conduct. Mr. Payne acknowledges his role in the distribution of heroin, but does not have

any knowledge to conduct related to cocaine.

5.     Paragraph 56.

       Mr. Payne objects to this paragraph. This paragraph is not relevant and appears to

only be for inflammatory purposes. As the paragraph states, “Investigative materials do

not suggest the residence was used for the primary purposes of distributing a controlled

substance..”

       The preponderance of the evidence standard is the appropriate standard for

proving all sentencing facts. United States v. Villareal-Amarillas, 562 F.3d 892, 897-98

(8th Cir. 2009). “The burden of proof [at sentencing] is on the government with respect to

the base offense level and any enhancing factors.” United States v. Hammer, 3 F.3d 266,

272 (8th Cir. 1993); See also, United States v. Howard, 894 F.2d 1085, 1090 (9th Cir.

1990). “In determining what weight to give the advisory guidelines, it may be helpful for

the court to consider whether any guideline enhancements are supported by evidence

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remedial dissenters in Booker. Rather, it allows the court to give effect to both the merits

and remedial majority opinions: federal sentencing is still judge-based, but courts should

not impose sentences based on the sort of flimsy evidence that often passed under the old

regime.” U.S. v. Gray, 362 F. Supp. 2d 714, 723 (S.D. W. Va. 2005).

       Mr. Payne objects to this wording in his PSR and requests that it be removed.
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6.     Paragraph 76. Criminal conviction resulting in 3 points.

       Mr. Payne objects to the calculation of 3 points for the offense stated in this

paragraph. Mr. Payne relies upon U.S.S.G. §§ 4A1.1(a) and the application note; and

4A1.2(e) for his objection. Sentence was imposed for this offense on February 27, 1998

and he was discharged from Parole on June 1, 1999. Mr. Payne’s current offenses stated

in the indictment were for the following dates: Count 5) October 6, 2014; Count 6)

January 4, 2015; Count 14) June 16, 2015; Count 17) July 28, 2015; and Count 18) July

28, 2015. These dates are beyond the 15 year imposition of sentence on the stated

offense. Mr. Payne believes the points should be removed from his criminal history

calculation.

7.     Paragraph 77. Criminal conviction resulting in 1 point.

       Mr. Payne objects to the 1 point assigned for the offense listed in paragraph 77.

Sentence was imposed on October 2, 2003 and he was discharged on April 2, 2004. As

stated in the paragraph above, Mr. Payne’s acts did not occur until October 6, 2014. 10

years had passed and pursuant to U.S.S.G. §4A1.2(e), a point should not be assessed.

8.     Paragraph 78. Criminal conviction resulting in 1 point.

       Mr. Payne objects to the 1 point assigned for the offense listed in paragraph 78.

Sentence was imposed and satisfied on the same day, August 25, 2003. Pursuant to

U.S.S.G. §4A1.2(e), this act took place more than ten years prior to the Mr. Payne’s acts

for which he was indicted.

9.     Paragraph 82. Criminal History Score.

       Mr. Payne objects to the subtotal criminal history score of 7. As argued above,

Mr. Payne believes 4 points should be deducted from the total of 7 [3 points from
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paragraph 76; 1 point from paragraph 77; and 1 point from paragraph 78]. This would

result in paragraph 81 being counted for 1 point and not included in the 4 point maximum

under USSG §4A1.1(c)], but then another misdemeanor case which was not counted due

to the maximum amount already counted, would now be able to be counted. As a result,

the total deduction would be 4 and not 5. Mr. Payne believes his criminal history subtotal

should be 3 (7-4).

10.    Paragraph 84. Total Criminal History score.

       Mr. Payne objects to the total criminal history score of 9. As argued above, Mr.

Payne believes his total criminal history score should be 5, resulting in a criminal history

category of III and not IV.

11.    Paragraph 90. Facts of case.

       Mr. Payne objects to the allegation that the substance involved was heroin. Mr.

Payne insists the substance was marijuana.

12.    Paragraph 98.

       Mr. Payne objects to the allegation that he belonged to a gang called the

Commando boys as a child. He never belonged to a gang and simply hung around with

other kids from the neighborhood at the after-school community center.

15.    Paragraph 105.

       Mr. Payne objects to the assertion that he choked Ms. Nakita Jackson. Mr. Payne

did not choke Ms. Jackson.

16.    Paragraph 111.

       Mr. Payne objects to the statement that he does not have a High School Diploma,

or GED. Mr. Payne obtained his GED while he was incarcerated at the Jacksonville
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Correctional Facility in Illinois. Mr. Payne was released early from prison, on July 28,

1997, on a program that allowed for early release for “school good time” after he

completed his GED. Mr. Payne maintains that the Correctional Facility should have

these documents and is attempting to obtain those.

17.    Paragraph 117.

       Mr. Payne objects to the recommendation that he may have the ability to pay a

fine. Mr. Payne is unemployed, has little to nothing for a work history, is currently

incarcerated and as stated in paragraph 116, does not have any assets.

                        B. 18 U.S.C. §3553(a) Factors for variance

        The Supreme Court’s decision in United State v. Booker, 543 U.S. 220 (2005)

excised the mandatory-guideline provisions of the 1984 Sentencing Reform Act and

rendered those guidelines as merely advisory. When sentencing, the court must now

consider 18 U.S.C. §3553(a). In so doing, the court “shall impose a sentence that is

sufficient, but not greater than necessary,” to achieve Congress’s specific sentencing

purposes, including: reflecting the seriousness of the offense, to promote respect for the

law, promote just punishment for the offense, and to provide the defendant with needed

educational training in the most effective manner. “ 18 U.S.C. §3553(a). A “variance” is

any factor under §3553 that may warrant a non-guideline sentence. Izarry v. United

States, 553 U.S. 708 (2008).

       Mr. Payne grew up in a part of Chicago known for its violence. An area where a

child learns to survive rather than having a playful childhood. Not having a father

involved in his life, Albert Payne and his siblings relied upon their mother ‘s support and

care to have a safe and stable childhood. Early on, Albert Payne did well in school,
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excelled at sporting activities and stayed out of trouble. After school, he would

immediately go to an after street program called “Off the Street Club.” While here, he

would play with his friends and stay away from the neighborhood trouble and negative

influences.

       That all changed when he turned 11 years old. The glue of his family, his mother,

passed away. Albert was now to be raised by his brother, 17 years his senior. Albert’s

brother Terry did the best he could, but could not be there as much as Albert’s mother

was. Terry had a career and his own family to raise as well. Terry could not keep as

close an eye on Albert as was needed to stave off the negative influences. Eventually, the

neighborhood that has consumed so many children’s lives, now consumed another.

       The neighborhood and the negative influences grabbed ahold of Albert shortly

after his mother passed. Troubles began at school and he found himself having more an

more contact with the criminal justice system. He was an 11 year old boy who was being

led and supervised by others with more nefarious intentions. This became the life he

knew, the only life he knew how to succeed in. Eventually, he found himself in

Minnesota, arrested and brought before this Court.

       While there is plenty of negative things to view on paper regarding Mr. Payne,

there is also good, even if it is not seen on paper. There is also some irony. While

coming to Minnesota brought about an arrest and assuredly a prison sentence, it also

brought about a relief and a new positive outlook on what could be. Gone was the

constant violence in the neighborhood. There was talk about employment opportunities

and he learned that the community did not immediately shut him out from opportunities.
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       Mr. Payne met Starsha Chandler in Minnesota. They recently had a child

together. Mr. Payne, getting older and seeing that he could live in an area without

violence and with opportunity began to think about his future. He began to think about

furthering his education so he could find work. He began to think and talk about making

Minnesota his home and escaping from Chicago. Mr. Payne sees his current arrest as the

chance to make that break. He hopes for a sentence that is reasonable and not longer than

necessary to help him achieve his future goals of employment and raising his child in a

safe community. To this end, Mr. Payne requests a sentence of not more than 60 months

as contemplated by the plea agreement and also that he be able serve his time at a facility

in Minnesota that offers a drug treatment program for both marijuana and alcohol, and

that also provides mental health services as he believes he may suffer from undiagnosed

depression resulting from the death of his mother and other loved ones.

                                        Conclusion

       Mr. Payne respectfully requests a sentence not to exceed 60 months and that he be

able to serve his sentence at a facility in Minnesota that has a drug treatment program and

offers the chance for a mental health examination and treatment if necessary.



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